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14   WESERVE DRONE, LLC
15

16
                          UNITED STATES DISTRICT COURT

17                      CENTRAL DISTRICT OF CALIFORNIA
18

19   WESERVE DRONE, LLC,
                                              CASE NO. _______
20               Plaintiff,

21   vs.                                      COMPLAINT FOR PATENT
                                              INFRINGEMENT
22   SZ DJI TECHNOLOGY CO., LTD.,
     DJI EUROPE B.V., AND
23   DJI TECHNOLOGY, INC.,                    DEMAND FOR JURY TRIAL

24               Defendants.

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           Plaintiff Weserve Drone, LLC (“Weserve Drone”) files this Complaint for

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     Patent Infringement against SZ DJI Technology Co., Ltd., DJI Europe B.V., and DJI


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 1   Technology, Inc. (collectively, “DJI” or “DJI Defendants”) for infringement of U.S.
 2   Patent No. 9,352,834 (“the ‘834 Patent” or “the Asserted Patent”).
 3                                        PARTIES
 4            1.   Weserve Drone, LLC is a limited liability company organized under the
 5   laws of the State of Texas and located at 734 Sword Bridge Drive, Lewisville, Texas
 6   75056.
 7            2.   Upon information and belief, Defendant SZ DJI Technology Co., Ltd.
 8   (“DJI China”) is a Chinese corporation with its principal place of business at 14th
 9   Floor, West Wing, Skyworth Semiconductor Design Building, No. 18 Gaoxin South
10   4th Ave, Nanshan District, Shenzhen, China 518057. DJI China is responsible for the
11   research and development of DJI-branded products sold in the United States including
12   DJI’s unmanned aerial vehicles (“UAV”).
13            3.   Upon information and belief, Defendant DJI Europe B.V. (“DJI Europe”)
14   is a European corporation with a place of business at Bijdorp-Oost 6, 2992 LA
15   Barendrecht, Netherlands. DJI Europe sells DJI-branded products in the United States
16   including DJI-branded UAV products.
17         4.      Upon information and belief, Defendant DJI Technology, Inc. (“DJI
18   U.S.”) is a California corporation with a place of business at 17301 Edwards Road
19   Cerritos, California 90703-2427.
20                             JURISDICTION AND VENUE
21            5.   Weserve Drone brings this action for patent infringement under the
22   patent laws of the United States, namely 35 U.S.C. §§ 271, 281, and 284-285,
23   among others. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§
24   1331 and 1338(a).
25            6.   The DJI Defendants are subject to general and specific personal
26   jurisdiction of this Court based upon their regularly conducted business in California
27   and in this judicial district giving rise to this action. The DJI Defendants have
28   established minimum contacts with this forum such that the exercise of jurisdiction

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 1   over the DJI Defendants would not offend traditional notions of fair play and
 2   substantial justice. The DJI Defendants, directly and through subsidiaries and
 3   intermediaries (including distributors, retailers, and others), have committed and
 4   continue to commit acts of infringement in this District by, among other things,
 5   making, using, testing, selling, importing into the United States, and/or offering for
 6   sale products that infringe the Asserted Patent.
 7         7.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§
 8   1400(b) and 28 U.S.C. § 1391.
 9         8.     Venue is proper in this district as to Defendant DJI U.S. pursuant to 28
10   U.S.C. § 1400(b) as DJI U.S. is a California corporation, maintains a regular and
11   established place of business in this district at 17301 Edwards Road, Cerritos,
12   California 90703-2427, and has committed acts of infringement in this judicial district.
13   DJI U.S. also maintains a regular and established place of business at 201 S. Victory
14   Blvd., Burbank, California 91502. DJI U.S. may be served through its registered agent
15   CT Corporation System, 818. West Seventh Street, Suite 930, Los Angeles, California
16   90017.
17         9.     Venue is proper in this district as to DJI China pursuant to 28 U.S.C. §§
18   1400(b) and 28 U.S.C. § 1391 at least because DJI China is a Chinese corporation and
19   is subject to this Court’s personal jurisdiction with respect to this action.
20         10.    Venue is proper in this district as to DJI Europe pursuant to 28 U.S.C. §§
21   1400(b) and 28 U.S.C. § 1391 at least because DJI Europe is a European corporation
22   and is subject to this Court’s personal jurisdiction with respect to this action.
23                      THE WESERVE DRONE PATENT-IN-SUIT
24         11.    Weserve Drone is the owner by assignment of all right, title, and interest
25   in and to United States Patent No. 9,352,834.
26         12.    A true and correct copy of the Asserted Patent is attached as Exhibit A.
27         13.    Weserve Drone possesses all rights of recovery under the Asserted Patent.
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 1         14.    The ‘834 Patent, titled “Micro Unmanned Aerial Vehicle and Method of
 2   Control Therefor,” was duly and legally issued by the United States Patent and
 3   Trademark Office (“USPTO”).
 4         15.    The USPTO found the allowed claims to recite patentable subject matter
 5   and the respective application met all requirements for patentability.
 6         16.    The United States Patent and Trademark Office issued the ‘834 Patent on
 7   May 31, 2016, after a complete examination and upon finding the claimed subject
 8   matter novel and the application meeting all requirements for patentability.
 9         17.    The ‘834 Patent is valid and enforceable.
10         18.    The Abstract of the Asserted Patent describes a remotely controlled
11   unmanned aerial vehicle (“UAV” or “drone”) utilizing an on-board controller to
12   generate around the drone a sonar bubble. The sonar bubble is created by multiple
13   sonar emitters positionally located along each axis of movement. Because the sonar
14   emitters produce overlapping sonar lobes, the on-board controller uses the resulting
15   “stereo or bioptic data in the form of individual echo responses” to create a three-
16   dimensional image of the area around the drone. The drone is therefore able to
17   proactively prevent collisions with nearby objects.
18         19.    In operation, the UAVs described in the Asserted Patent are thus able to
19   operate semi-autonomously to avoid obstacles and respond to fast-changing
20   environmental conditions unlike the prior art camera-based or inertial navigation-
21   based systems that suffer from delays in the transmission of control data, multi-path
22   radio interference, signal attenuation and unmapped objects. ‘834 Patent, 1:33-2:32.
23         20.    The Asserted Patent further describes how embodying devices such as
24   micro UAVs with the inventive system on-board can be used for military
25   reconnaissance or inspection activities and overcome weight and power restrictions
26   imposed by existing (and less-effective) technological solutions that relied on lasers,
27   inertial navigation, and GPS. ‘834 Patent, 2:33-2:53, 1:50-54.
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 1         21.    The inventor of the Asserted Patent recognized and noted in the patent
 2   specification that then-existing drone control processes and technology suffered from
 3   drawbacks, particularly in the context of size, weight, sensor capability (movement
 4   detection and drift), and the difficulty or impossibility of obtaining positional updates
 5   based on real-time GPS data. ‘834 Patent, at 2:12-52.
 6         22.    Thus, the existing inertial navigation and laser technologies were
 7   “generally incompatible” with the covert mission requirements placed on micro and
 8   nano UAVs tasked with a reconnaissance mission. ‘834 Patent, at 2:45-51. Those of
 9   skill in the art recognized at the time the challenge of deploying sufficient capabilities
10   to provide collision avoidance in the micro UAV environment. ‘834 Patent, at 2:53-
11   3:35, 1:23-29.
12         23.    Those of skill in the art would recognize that the claimed subject matter
13   of the ‘834 Patent marks significant improvement in collision avoidance and
14   autonomous UAV control at the time of the invention. They would recognize that the
15   claimed sonar bubble and on-board control system would reduce device weight, power
16   requirements and UAV size to allow micro UAVs to perform covert reconnaissance
17   and risk analysis. And those of ordinary skill in the art in 2012 understood that
18   conventional UAV navigation and control solutions could not deliver collision
19   avoidance or compensate for nearby objects that move as time passes, as described,
20   enabled, and claimed in the Asserted Patent. ‘834 Patent, at 5:5:5-19, 5:45-48.
21         24.    The Asserted Patent describes an autonomous mode of operation for a
22   UAV that could automatically “counter drift” errors caused by standard inertial
23   navigation systems and provide enhanced remote-control capability to avoid collisions
24   and flight instability. And because a detailed record of the ingress path could be stored,
25   exfiltration of the UAV from a building or similarly cramped space was made possible.
26   ‘834 Patent, at 5:20-32.
27         25.    In order to provide such features and to overcome prior art problems, the
28   Asserted Patent discloses and claims inventive and unconventional UAV devices and

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 1   methods of operation that initiate a three-dimensional, overlapping sonar bubble
 2   around the UAV. The Asserted Patent describes and claims a memorize feature for
 3   navigating within confined areas. This technical solution was, at the time, not well-
 4   understood, routine, or conventional.
 5            26.   The claimed subject matter of the Asserted Patent presents advancements
 6   in collision avoidance control at the time of the inventions, enabling autonomous flight
 7   control that provided improved functionality and usability, that was unavailable in
 8   routine use of conventional UAV devices at the time.
 9            27.   The ‘834 Patent claims a system and method for autonomous control of
10   an unmanned aerial vehicle utilizing an on-board controller and sonar emitters to create
11   a three-dimensional sonar bubble around the UAV. The claimed subject matter marks
12   a significant technological improvement.
13                                DEFENDANTS’ PRODUCTS
14            28.   Defendants’ make, have made, use, test, sell, offer for sale, distribute,
15   import into the United States, license, and/or support unmanned aerial vehicles, add-
16   on components, accessories, software development tools and mobile device
17   applications for iOS and Android devices (or in the past have committed one or more
18   of these acts).
19            29.   Defendants focus on ensuring that their devices and accessories are
20   compatible with a broad range of services, such as consumer, professional and industry
21   users.
22            30.   Defendants offer (and in the past have offered) their products for sale on
23   their      website     (https://www.dji.com/)       through       their      online    store
24   (https://store.dji.com/?site=brandsite&from=nav).
25            31.   Defendants make, have made, use, test, sell, offer for sale, distribute,
26   import into the United States, license, and/or support the Matrice 100 UAV (or in the
27   past have committed one or more of these acts).
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15         32.   Defendants publish a user manual for the Matrice 100 UAV available for
16   download at https://www.dji.com/matrice100/info#downloads.                 See SZ DJI
17   Technology Co., LTD., DJI MATRICE 100 User Manual V1.6, (March 2016)
18   (hereafter “Matrice User Manual”).
19         33.   The Matrice User Manual accurately describes the structure and
20   operation of the Matrice 100 UAV.
21         34.   The Matrice 100 is used with DJI’s Guidance navigation aid accessory.
22   Matrice User Manual, at 14.
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 8         35.   Defendants make, have made, use, test, sell, offer for sale, distribute,
 9   import into the United States, license, and/or support the Guidance navigation aid
10   (hereafter “the Guidance”) (or in the past have committed one or more of these acts).
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           36.   Defendants publish a user manual for the Guidance available for
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     download at https://www.dji.com/guidance/info#downloads. See SZ DJI Technology
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 1   Co., LTD., GUIDANCE User Manual V1.6, (November 2015) (hereafter “Guidance
 2   User Manual”).
 3         37.   The Guidance User Manual accurately describes the structure and
 4   operation of the Guidance.
 5         38.   The Guidance is a navigation aid accessory that “uses ultrasonic sensors
 6   and cameras to gather real-time information about its surroundings” to allow for
 7   obstacle avoidance “in GPS-denied environments.” Guidance User Manual, at 5.
 8         39.   The Guidance is fully compatible with the Matrice 100 UAV:
 9   https://www.dji.com/guidance?site=brandsite&from=nav.
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           40.   Defendants’ developer website confirms that the Guidance is an add-on
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     accessory   for   the   Matrice   100    UAV:     https://developer.dji.com/onboard-
19
     sdk/documentation/introduction/osdk-hardware-introduction.html (emphasis added).
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           Guidance is a revolutionary visual sensing system. With a powerful
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           processing core, integrated visual cameras, ultrasonic sensors, and the
23
           most advanced computer vision algorithms in the world, Guidance
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           protects your platform and gives you a new level of safety and
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           confidence in flight. Guidance includes five sensor modules and one
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           central processor.
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            41.   The Guidance User Manual, at 8, confirms that the Guidance “is fully
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      compatible with the DJI MATRICE” when installed on the Matrice 100 UAV.
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            42.   Defendants instruct end users on how to install the Guidance into a
 17
      Matrice 100 UAV. See Guidance User Manual, at 9-22.
 18
            43.   Defendants offer the Guidance for sale “to industry users for development
 19
      in other applications” beyond the Matrice 100, including third-party UAVs or non-
 20
      aircraft platforms. Guidance User Manual, at 5.
 21
            44.   Defendants instruct and encourage end users to use the Guidance with
 22
      UAVs and with non-aircraft platforms. Guidance User Manual, at 11 (emphasis
 23
      added).
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            45.    The Matrice 100 incorporates a flight controller. Guidance User Manual,
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      at 6 (emphasis added).
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 27         46.    The Matrice 100’s flight controller oversees operation of the UAV,

 28   including its drive system.


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  1         47.   A Guidance accessory installed on the Matrice 100 becomes part of the
  2   Matrice 100’s flight control system. Guidance User Manual, at 5.
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            48.   The Guidance accessory uses ultrasonic sensors that emit and detect
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      ultrasonic energy. Guidance User Manual, at 2 (“the ultrasonic sensors emit high
 14
      frequency sound”), 7 (pictured below).
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  1         49.   The Guidance accessory includes ultrasonic emitters and five (5)
  2   “Guidance Sensor[s],” each Guidance Sensor having a pair of ultrasonic sensors.
  3   Guidance User Manual, at 2 (“the ultrasonic sensors emit high frequency sound”), 5
  4   (pictured below), 7 (pictured above).
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            50.   Each Guidance Sensor has two ultrasonic sensors.             Guidance User
 13
      Manual, at 7.
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 21         51.   Ultrasonic emitters are arranged along each axis of travel. Guidance User

 22   Manual, at 11-12, 26 (emphasis added).

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            52.   The Guidance Sensors emit sound energy and are sonar emitters.
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      Guidance User Manual, at 2 (“the ultrasonic sensors emit high frequency sound”), 24-
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      25.
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            53.    The Matrice 100 flight controller uses detected variations in signal
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      strength and or round-trip timing from the sound waves reflected by objects in the
 10
      sonar bubble to assess the relative position and nature of the detected object.
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            54.    Each ultrasonic sonar emitter produces an ultrasonic sonar lobe extending
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      outwardly along its aligned axis of travel. Guidance User Manual, at 11-12.
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            55.   The ultrasonic sonar lobes produced by the sonar emitters combine to
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      encapsulate the Matrice 100 in a sonar bubble. Guidance User Manual, at 25.
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            56.   The ultrasonic sonar lobes produced by the sonar emitters partially
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      overlap and exist in three dimensions. Guidance User Manual, at page 25.
 12
            57.   The Guidance includes multiple ultrasonic sonar detectors corresponding
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      to each axis of travel. Guidance User Manual, at 15.
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  1         58.    The ultrasonic sonar detectors are coupled to the Matrice 100 flight
  2   controller, and in response to ultrasonic, sonar echoes received from detected objects,
  3   a three-dimensional image of the airspace and the detected objects, which may be
  4   stationary or moving, within the airspace around the Matrice 100, which may be
  5   stationary or moving, is generated.
  6         59.    The Matrice 100 is configured, in response to detecting an object within
  7   the sonar bubble created by the Guidance, to automatically “invoke the flight control
  8   system to stop the aircraft if there are obstacles within the detection range” and the
  9   Matrice 100 flight controller, independently from user inputs, prevents “move[ment]
 10   in the direction of the obstacle, but [the Matrice 100] can still move in the other
 11   directions.” Guidance User Manual, at 25.
 12         60.    The Matrice 100 with the Guidance accessory installed uses a
 13   combination of position and motion sensors to measure movement of the Matrice 100
 14   in three-dimensional space. Matrice User Manual, at 34.
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  1         61.   The Guidance “gather[s] real-time information about its surroundings,
  2   and sends data such as velocity, position and obstacle clearance to the [flight
  3   controller] of the [Matrice 100].” Guidance User Manual, at 5.
  4         62.   The flight controller of the Matrice 100 stores in memory the UAV’s
  5   movement within the three-dimensional environment.
  6         63.   The Matrice 100 includes a hover mode. Matrice User Manual at 59.
  7         64.   The flight controller of the Matrice 100 uses the “velocity, position and
  8   obstacle clearance information” received from the Guidance to correct for drift in a
  9   position sensor on the Matrice 100.
 10         65.   The Matrice 100 with the Guidance accessory installed includes the
 11   Return To Home (RTH) with obstacle avoidance feature. Matrice User Manual, at 41-
 12   43.
 13         66.    The Matrice 100 with the Guidance accessory installed includes a
 14   Failsafe RTH feature that is invoked automatically if the signal link to the user’s
 15   remote control is lost for more than three seconds. Matrice User Manual at 42
 16         67.   In normal operation of the Matrice 100 with the Guidance accessory
 17   installed, the Smart RTH feature that returns the Matrice 100 to its takeoff point can
 18   be invoked by the user by pressing the RTH button on the remote controller. Matrice
 19   User Manual at 41.
 20         68.   The Accused Devices include the Guidance and any combination of the
 21   Guidance and any of (1) the Matrice 100, (2) a UAV built on the DJI MATRICE flying
 22   platform, or (3) any other UAV on which the Guidance is installed to operate in the
 23   same way as in combination with the Matrice 100 or other UAVs built on the DJI
 24   MATRICE flying platform.
 25         69.   Defendants have been on notice of the Asserted Patent at least as early as
 26   this complaint.
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  1                                COUNT I
  2
                  DIRECT INFRINGEMENT OF U.S. PATENT NO. 9,352,834
            70.     Weserve Drone realleges and incorporates by reference the allegations set
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      forth in the preceding paragraphs as if set forth verbatim in this Count.
  4
            71.     Defendants have directly infringed and continue to directly infringe at
  5
      least claims 1, 2, 3, and 5 (“Asserted Claims”) of the ‘834 Patent in violation of 35
  6
      U.S.C. § 271(a) by making, using, testing, demonstrating, exhibiting, marketing,
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      selling, or offering to sell in the United States, or importing into the United States, the
  8
      Accused Devices.
  9
            72.     Defendants make, use, sell, or offer for sale, and/or import into the United
 10
      States the Accused Devices (or in the past have committed one or more of these acts)
 11
      that embody and practice the Asserted Claims of the ‘834 Patent.
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            73.     Defendants have no authority or license to practice any claim of the ‘834
 13
      Patent.
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            74.     The Defendants’ Matrice 100 is an unmanned aerial vehicle with a drive
 15
      system for propelling the UAV through the air.
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            75.     The Matrice 100 includes a flight controller that controls the UAV’s drive
 17
      system and oversees operation of components of the Matric 100.
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            76.     In normal operation, the Defendants’ Guidance accessory uses multiple
 19
      ultrasonic sonar emitters to generate a sonar bubble encapsulating the UAV.
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            77.     In normal operation, an Accused Device features and uses multiple
 21
      ultrasonic emitters associated with different axes of travel.
 22
            78.     In normal operation, an Accused Device features and uses multiple
 23
      ultrasonic emitters that each produce a sonar lobe extending outwardly along different
 24
      axes of travel.
 25
            79.     In normal operation, the sonar lobes produced by multiple ultrasonic
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      emitters of an Accused Device combine to encapsulate the Accused Device in a sonar
 27
      bubble.
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  1         80.    Defendants’ Guidance features and is intended to use multiple ultrasonic
  2   sonar detectors.
  3         81.    In normal operation, an Accused Device features and uses multiple
  4   ultrasonic sonar detectors that communicate with a controller.
  5         82.    In normal operation, an Accused Device features and uses multiple
  6   ultrasonic sonar detectors that enable the controller—in response to echoes reflected
  7   off objects within the sonar bubble—to interpret and generate a three-dimensional
  8   image of the spatial environment in which the Accused Device is stationary or moving
  9   and within which spatial environment objects are stationary or moving.
 10         83.    In normal operation, a controller for an Accused Device is configured to
 11   moderate the drive system of an Accused Device in response to an assessed position
 12   of objects in the three-dimensional image relative to the Accused Device such that the
 13   controller independently controls movement of the Accused Device through the spatial
 14   environment along each axis of travel.
 15         84.    In normal operation, an Accused Device forms a sonar bubble from
 16   partially overlapping three-dimensional spatial sonar lobes generated by relatively
 17   inclined pairs of sonar emitters.
 18         85.    In normal operation, at least two sonar detectors of an Accused Device
 19   are associated with each axis of travel.
 20         86.    In normal operation, a controller of an Accused Device is configured to
 21   and used to resolve detected variations of signal strength to assess a relative position
 22   of objects with respect to the Accused Device.
 23         87.    In normal operation, an Accused Device uses object data acquired from
 24   use of the sonar bubble to compensate for drift in at least one of the motion and position
 25   sensors.
 26         88.    In normal operation, an Accused Device performs each and every step or
 27   meets each and every element of at least Claims 1, 2, 3, 5, 8, and 10 of the ʼ834 Patent.
 28


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  1         89.    Weserve Drone is entitled to recover from Defendants compensation in
  2   the form of monetary damages suffered as a result of Defendants’ infringement in an
  3   amount that cannot be less than a reasonable royalty together with interest and costs as
  4   fixed by this Court.
  5                              COUNT II
  6
               INDIRECT INFRINGEMENT OF U.S. PATENT NO. 9,352,834
            90.    Weserve Drone realleges and incorporates by reference the allegations set
  7
      forth in the preceding paragraphs as if set forth verbatim in this Count.
  8
            91.    Defendants have been on notice of the ‘834 Patent since approximately
  9
      November 26, 2018, when Defendants received correspondence offering rights under
 10
      the patent, or at least by filing of this complaint.
 11
            92.    With knowledge of the ‘834 Patent, Defendants continued to encourage,
 12
      aid, abet, direct, and instruct users to combine the Accused Devices to infringe one or
 13
      more claims.
 14
            93.    Since receiving notice of the ‘834 Patent, Defendants have not, upon
 15
      information and belief, modified instructions or provided users instructions to avoid
 16
      infringing the ‘834 Patent.
 17
            94.    Defendants induce and contribute to infringement of the ‘834 Patent by
 18
      others including end users of the Accused Devices.
 19
            95.    Defendants knowingly and intentionally have induced and continue to
 20
      induce users of an Accused Device to directly infringe one or more claims of the ‘834
 21
      Patent, including by, for example, (1) providing instructive information explaining
 22
      how to use an Accused Device in an infringing manner; and (2) encouraging users to
 23
      infringe by highlighting infringing uses of an Accused Device in advertisements.
 24
            96.    Defendants’ instructions and explanations may be found, for example, at
 25
      https://www.dji.com/matrice100 and https://www.dji.com/guidance.
 26
            97.    Defendants’ issue press releases highlighting the infringing functionality
 27
      and use of the Accused Devices (e.g., “DJI Matrice 100 & DJI Guidance Announced,”
 28


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  1   Heliguy website, June 9, 2015, at https://www.heliguy.com/blog/2015/06/09/dji-
  2   matrice-100-dji-guidance-announced/).
  3         98.   Through online technical support and publication of instructional
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      information, Defendants encourage, aid, and direct end users of the Accused Devices

 19
      to use and operate them, consistent with Defendants’ instructions, to perform the

 20
      claimed methods of the ‘834 Patent.

 21
            99.   Defendants’ Guidance Accused Device is not a staple article of commerce

 22
      suitable for any non-infringing use, and Defendants have notice of the ‘834 Patent.

 23
      Defendants publish on their website (https://www.dji.com/guidance/info) a video

 24
      tutorial instructing users how to install Guidance on the M100.

 25
            100. The Guidance Accused Device is specially adapted for infringing use

 26
      including with other Accused Devices.

 27

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  1         101. Weserve Drone is entitled to recover from Defendants compensation in
  2   the form of monetary damages suffered as a result of Defendants’ infringement in an
  3   amount that cannot be less than a reasonable royalty together with interest and costs as
  4   fixed by this Court.
  5                                 PRAYER FOR RELIEF
  6         Weserve Drone prays for the following relief:
  7         a) A judgment be entered that Defendants have directly and indirectly
  8            infringed one or more claims of the Asserted Patent;
  9         b) A judgment be entered that the Asserted Patent is valid and enforceable;
 10         c) Weserve Drone be awarded damages adequate to compensate for
 11            Defendants’ infringement up until the date such judgment is entered,
 12            including     prejudgment    and    post-judgment       interest,     costs,   and
 13            disbursements as justified under 35 U.S.C. § 284 and, if necessary, to
 14            adequately compensate Weserve Drone for Defendants’ infringement, an
 15            accounting;
 16         d) A judgment that Weserve Drone be awarded attorneys’ fees, costs, and
 17            expenses incurred in prosecuting this action; and
 18         e) A judgment that Weserve Drone be awarded such further relief at law or in
 19            equity as the Court deems just and proper.
 20

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  1
                                DEMAND FOR JURY TRIAL

  2
            Plaintiff demands trial by jury for all issues so triable pursuant to Fed. R. Civ.
  3
      P. 38(b) and L.R. 38-1.
  4

  5
       Dated: May 20, 2019             By /s/ Stephen M. Lobbin
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